Case 20-19017-RG       Doc 154     Filed 07/13/22 Entered 07/13/22 10:15:23           Desc Main
                                  Document      Page 1 of 2



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 HELLRING LINDEMAN GOLDSTEIN
  & SIEGAL LLP
 Bruce S. Etterman, Esq.
 Attorneys for Benjamin A. Stanziale, Jr.
   Chapter 7 Trustee
 One Gateway Center
 Newark, New Jersey 07102-5323
 973.621.9020
 bsetterman@hlgslaw.com

 In Re:                                                Case No. 20-19017 (RG)

 HEALTH TECH HARBOR, INC.,                             Judge: Rosemary Gambardella

                               Debtor.                 Chapter 7

                                                       Hearing Date: August 16, 2022
                                                                     at 10:00 a.m.


                         NOTICE OF MOTION FOR AN ORDER
                    RE STATUS OF GOODWIN PROCTOR LLP CLAIM

 TO:      ALL PARTIES IN INTEREST LISTED ON THE CERTIFICATION OF
          SERVICE AND GOODWIN PROCTOR LLP

SIR OR MADAM:


               PLEASE TAKE NOTICE that on August 16, 2022, at 10:00 a.m., or as soon

thereafter as counsel may be heard, Benjamin A. Stanziale, Jr., Chapter 7 Trustee (“Trustee”) for

Health Tech Harbor, Inc. (“Debtor”), shall move before the Honorable Rosemary Gambardella,

United States Bankruptcy Judge, at the United States Bankruptcy Court, Martin Luther King, Jr.

Federal Building, 50 Walnut Street, Courtroom #3-E, Newark, New Jersey 07102, for an Order

that Claim No. 73 on the Court’s Claims Register of Goodwin Proctor LLP listed as a

general unsecured claim in the amount of $599,897.31 is a late filed claim that shall
Case 20-19017-RG         Doc 154     Filed 07/13/22 Entered 07/13/22 10:15:23               Desc Main
                                    Document      Page 2 of 2



receive a distribution only after all other unsecured claims have been fully satisfied , in

accordance with 11 U.S.C. § 502(b)(9) and 11 U.S.C. § 726(a)(3).


                PLEASE TAKE FURTHER NOTICE that in support of the motion Movant will

rely upon the Declaration of Benjamin A. Stanziale, Jr. filed in support of the relief requested.


                PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief

requested in the motion shall: (i) be in writing; (ii) state with particularity the basis of the

objection; and (iii) be filed with the Clerk of the United States Bankruptcy Court in accordance

with D.N.J. LBR 9013-4.


                PLEASE TAKE FURTHER NOTICE that unless an objection is timely filed and

served, the motion will be deemed uncontested in accordance with D.N.J. LBR 9013-3(d), and

the relief requested may be granted without a hearing.


                PLEASE TAKE FURTHER NOTICE that a proposed form of order granting the

relief requested herein is submitted herewith and made a part of the motion herein pursuant to

D.N.J. LBR 9013-1(a)(4).


                                       HELLRING LINDEMAN GOLDSTEIN & SIEGAL LLP
                                       Attorneys for Benjamin A. Stanziale, Jr., Chapter 7 Trustee


                                       By:                   /s/ Bruce S. Etterman
                                                            BRUCE S. ETTERMAN
                                                             A Member of the Firm

 Dated: July 13, 2022




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